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          IN THE UNITED STATES DISTRICT COURT
         FOR THE NORTHERN DISTRICT OF GEORGIA
                    NEWNAN DIVISION



AMERICA FIRST LEGACY                  )
PAC,                                  )        CIVIL ACTION NO.:
                                      )
                 Plaintiff,           )
                                      )
v.                                         JURY TRIAL DEMANDED
                                      )
ANGIE WONG,                           )
                                      )
                 Defendant.           )
_____________________________________ )

            BRIEF IN SUPPORT OF MOTION TO
     DISMISS COUNTS ONE AND TWO AND A PORTION OF
        COUNT FIVE FOR FAILURE TO STATE A CLAIM

     Defendant Angie Wong, by and through her undersigned counsel,

hereby files her Brief in Support of Motion to Dismiss Counts One and

Two and a Portion of Count Five for Failure to State a Claim, showing

the Court as follows:

                           INTRODUCTION

     Plaintiff filed this action in the Superior Court of Coweta County

on August 22, 2023. Plaintiff obtained an order of service by publication

on October 2, 2023. Under Georgia law, Ms. Wong has sixty (60) days

from the order of publication to answer, move or otherwise respond to the

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Complaint. Ms. Wong timely removed the state court action to this Court

on November 3, 2023, and timely filed her Verified Answer and this

Motion on the same date.

     The Complaint sets forth five counts designated as Count 1:

Unlawful    Interference    with    Employer’s     Business;    Count     2:

Defamation/Libel; Count 3: Conversion/Trover of Legacy PAC Property;

Count 4: Motion for Immediate/Temporary Injunctive Relief; and Count

5: Attorney’s Fees and Litigation Expenses. Ms. Wong moves to dismiss

Counts 1 and 2 and a portion of Count 5 for failure to state a claim

pursuant to Rule 12(b)(6) of the Federal Rules of Civil Procedure.

                      STATEMENT OF FACTS

     Plaintiff America First Legacy PAC (“Legacy PAC”) is a political

action committee created under federal law.        Compl. ¶ 1.     Plaintiff

purports to be a “Conservative Republican organization and part of the

Donald J. Trump Grassroots Voices for Trump Coalition through a

partnership with Veterans for America First aka [sic] Veterans for

Trump.” Compl. ¶ 5. “Legacy PAC was formed to promote thoroughly

vetted federal Republican candidates seeking federal offices.”          Id.



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According to the Complaint, Jared Craig, Stan Fitzgerald and Ms. Wong

were the “founding members” of Plaintiff.                Id.   Ms. Wong was the

president of Legacy PAC before she was allegedly removed from that

office by the “Board of Directors” 1 of Plaintiff on May 30, 2023. Id.

     Contrary to the allegations in Paragraph No. 5 of the Complaint,

Legacy PAC was not organized under the laws of Georgia and there is no

record of this organization being registered with the Georgia Secretary of

State.

         Defamatory Statements Allegedly Made About Craig,
          Fitzgerald and a Veterans for Trump Organization

     Almost       all   of   Plaintiff’s   allegations     regarding   defamatory

statements supposedly made by Ms. Wong are statements about Messrs.

Craig and Fitzgerald, the alleged co-founders of Plaintiff, and a Veterans

for Trump organization, not Plaintiff. For example, Plaintiff claims that

“Wong accused Legacy PAC members as ‘grifters, con men, fraudsters,




1Because     Plaintiff is a political action committee, it has no board of
directors.

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and scammers’….” Compl. ¶ 5 (emphasis in original.)2 Further, Plaintiff

alleges, “Wong began a campaign of character assassination against the

remaining Legacy PAC members, Craig and Fitzgerald. Wong falsely

accuses Craig and Fitzgerald as being deceitful and stated about, [sic]

and then she alleges they are White Supremacists although she knows

this to be false.” Id.

      Plaintiff also alleges, “When Legacy PAC made a formal demand to

cease and desist her unauthorized use of Legacy PAC accounts, Wong

continued to [sic] false and defamatory public statements about the

remaining members [Messrs. Craig and Fitzgerald] of Legacy PAC.”

Compl. ¶10. Such defamatory statements (whatever they may be) are

not made about Plaintiff.

      Plaintiff alleges that Ms. Wong “published false and defamatory

statements and images on social media indicating that one of Legacy

PAC’s close associates, Veterans for Trump, is “FAKE”, and, therefore,

not a legitimate organization.” Compl. ¶ 13, and Ex. B. While Veterans



2Plaintiff fails to allege when, where or whether these alleged defamatory

statements were published.

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for Trump is alleged to be a “close associate” of Plaintiff, it is not Plaintiff.

Moreover, there is no reference to Plaintiff in Exhibit B to the Complaint.

      In Paragraph 19 of its Complaint, Plaintiff alleges that on May 30,

2023, Ms. Wong “began to make false and defamatory affirmative

statements concerning Legacy PAC and its members in public and,

therefore, in writing, via social media accounts and website. The exhibits

referenced by Plaintiff, Exhibits “C” and “D” to the Complaint, say

nothing about Plaintiff. Exhibit “C” refers to Ms. Wong’s “ex-partners.”

Exhibit “D” refers to Ms. Wong’s “former partners and associates.”

Plaintiff does not attach to its Complaint copies of any website pages.

       Plaintiff’s Allegations of Defamation Are Conclusory.

      Most of Plaintiff’s allegations regarding defamation are conclusory

as they lack any specificity.      For example, Plaintiff alleges with no

specific reference to time, place or manner that “Since being voted out of

Legacy PAC, Wong has systematically defamed the organization,

individual members, and known associates on the Legacy PAC social

media accounts and website.” Compl. ¶ 5. Despite the allegation of

“systematically defamed,” no specific statements are alleged.



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     With no allegations regarding time, place or manner, Plaintiff

alleges that “Wong continues to make daily posts on social media making

false [sic] malicious accusations against Legacy PAC, Craig and

Fitzgerald.”   Id.   Plaintiff fails to specify what false and malicious

statements were made here.        In addition, Plaintiff alleges with no

reference to time, place or manner, “Wong is intentionally making false

statements concerning Legacy PAC and its members on a site that she

purports to be the official Legacy PAC website.” Id.      Plaintiff fails to

specify what false statements were made about Plaintiff and Plaintiff

fails to attach copies of any such statements or website pages to its

Complaint.

     Plaintiff alleges, “Wong continues to use this unauthorized Legacy

PAC site to publish false and defamatory statements against Legacy PAC

and its remaining members.” Id. However, Plaintiff fails to identify any

such false and defamatory statements or even attach copies of web pages

where such statements were supposedly made.




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                      Ms. Wong’s FEC Complaint

      According to Plaintiff, Ms. Wong “filed an unauthorized false and

defamatory complaint against Legacy PAC and its members with a

demand to close Legacy PAC with the Federal Election Commission

(hereinafter “FEC”_....” Compl. ¶ 5. This FEC Complaint is attached to

the Complaint as Exhibit “A.”

           ARGUMENT AND CITATION OF AUTHORITY

      A.    Rule 12(b)(6) Standard

      Federal Rule of Civil Procedure 12(b)(6) provides for dismissal of a

complaint that fails to state a claim upon which relief may be granted.

To survive a motion to dismiss for failure to state a claim pursuant to

Rule 12(b)(6), “a complaint must contain sufficient factual matter,

accepted as true, to ‘state a claim to relief that is plausible on its face.’ ”

Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (quoting Bell Atlantic Corp. v.

Twombly, 550 U.S. 544, 570 (2007)). “A claim has facial plausibility when

the plaintiff pleads factual content that allows the court to draw the

reasonable inference that the defendant is liable for the misconduct

alleged.” Id. (citing Twombly, 550 U.S. at 556); Drummond Coal Sales



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Inc. v. Kinder Morgan Operating LP "C", 836 F. App'x 857, 860–61 (11th

Cir. 2021).

     While a complaint “does not need detailed factual allegations,” a

plaintiff must plead “more than labels and conclusions [or] a formulaic

recitation of the elements of a cause of action” in providing the grounds

of his entitlement to relief.     Twombly, 550 U.S. at 555.        “Factual

allegations must be enough to raise a right to relief above the speculative

level” and to “state a claim to relief that is plausible on its face.” Id. at

555, 570. A claim has facial plausibility when the pleaded factual content

“allows the court to draw the reasonable inference that the defendant is

liable for the misconduct alleged.” Iqbal, 556 U.S. at 678. However, “the

tenet that a court must accept as true all of the allegations contained in

a complaint is inapplicable to legal conclusions,” and “[t]hreadbare

recitals of the elements of a cause of action, supported by mere conclusory

statements, do not suffice” to meet this standard. See Id.

     B.       Count 1 (“UNLAWFUL INTERFERENCE WITH
              EMPLOYER’S BUSINESS”) Fails to State a Claim
              Upon Which Relief May Be Granted.




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     In Blakey v. Victory Equip. Sales, Inc., 259 Ga. App. 34, 38 (2002),

the court identified the elements of tortious interference with contractual

relations, business relations, or potential business relations as follows:

     (1) improper action or wrongful conduct by the defendant
     without privilege;

     (2) the defendant acted purposely and with malice with the
     intent to injure;

     (3) the defendant induced a breach of contractual obligations
     or caused a party or third parties to discontinue or fail to enter
     into an anticipated business relationship with the plaintiff;
     and

     (4) the defendant's tortious conduct proximately caused
     damage to the plaintiff.

Id. at 38.    Plaintiff fails to allege any facts supporting the third

requirement above – that Ms. Wong induced a breach of contractual

obligations or caused a third party to either discontinue or fail to enter

into an anticipated business relationship with Plaintiff. Plaintiff alleges

that after May 30, 2023, Ms. Wong “attempted to interfere with Legacy

PAC operations….” Compl. ¶ 11. A tortious interference cause of action

does not apply to interference with a company’s operations and certainly

does not apply to an attempted interference. A defendant must induce a



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breach in order or sever a relationship for a plaintiff to prevail on a

tortious interference claim.

     Plaintiff further claims that Ms. Wong’s “continued unauthorized

use of Legacy PAC social media and online accounts continues to

interfere with its fundraising activities by creating chaos and confusion,”

“has interfered with Legacy PAC’s ability to raise funds” and has caused

“apprehension with donors because the preferred portals are not

available.” Compl. ¶ 11. But Plaintiff fails to identify a single donor or

potential donor who has been confused or a donation that has not been

made.     The threadbare allegations of chaos and confusion and

interference with unnamed donors and unknown donations is completely

unsupported with any allegation of plausible facts. See Project Veritas v.

Cable News Network, Inc., 591 F. Supp. 3d 1322, 1328 (N.D. Ga. 2022)

(“Although Rule 8(a)(2) does not require a complaint to contain “ ‘detailed

factual allegations,’ ” the Rule does, however, demand “more than an

unadorned,       the-defendant-unlawfully-harmed-me-accusation.”         Iqbal,

556 U.S. at 678, 129 S.Ct. 1937 (quoting Twombly, 550 U.S. at 545, 127

S.Ct. 1955)”).



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     Plaintiff also complains that Ms. Wong’s alleged posting on social

media of an image indicating that a certain Veterans for Trump

organization was “FAKE” is a basis for its tortious interference claim.

Compl. ¶ 13. But Plaintiff is not the Veterans for Trump organization at

issue. Indeed, according to Plaintiff, Veterans for Trump is a “close

associate.” Id. The tortious interference cause of action does not extend

to associates of any kind. Moreover, the event with Congresswoman

Boebert had already concluded before the alleged posting so there could

be no interference with an existing or anticipated business relationship.

     Finally, Plaintiff’s tortious interference claim fails because of the

stranger doctrine. As noted by the court in United Scis., LLC v. Kellett,

368 Ga. App. 690 (2023), reconsideration denied (July 12, 2023):

     To establish under the first element that the defendant acted
     “without privilege,” the plaintiff must show that “the
     defendant was an intermeddler or ‘stranger’ to the [contract
     or] business relationship at issue.” ASC Equip. USA, Inc. v.
     City Commercial Real Estate, Inc., 303 Ga. App. 309, 313 (1),
     693 S.E.2d 559 (2010). “[I]f the defendant has a legitimate
     economic interest in either the contract or a party to the
     contract, ... [or w]here a defendant has a financial interest in
     one of the parties to the contract or in the contract, the
     defendant is not a stranger to the contract or business
     relationship, even though [he] is not a signatory to the
     contract.” Tidikis v. Network for Med. Communications &


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     Research, LLC, 274 Ga. App. 807, 812-813 (4), 619 S.E.2d 481
     (2005) (citations omitted). See also *696 American Mgmt.
     Svcs. East, LLC v. Fort Benning Family Communities, LLC,
     333 Ga. App. 664, 687-688 (4) (b), 774 S.E.2d 233 (2015)
     (physical precedent only) (applying stranger doctrine to claim
     for aiding and abetting breach of fiduciary duty).

Id. at 695-696. Contrary to Plaintiff’s allegation that the purported

termination of Ms. Wong’s role as President of Plaintiff 3 caused her to be

a stranger, Ms. Wong was and remains a member of Plaintiff. Compl. ¶

5. In fact, according to the Complaint, Ms. Wong continues to solicit

donations to Legacy PAC, controls the Facebook, Instagram and X

accounts and maintains a website for Plaintiff. Compl. ¶ 5.

     C.    Count 2 of the Complaint (“DEFAMATION OF
           CORPORATION: Libel and Slander”) Fails to
           State a Claim Upon Which Relief May Be Granted.

           1.    Allegations that Ms. Wong Defamed
                 Messrs. Craig and Fitzgerald and a
                 Veterans for Trump Organization Are
                 Not Actionable.




3 Specifically, Plaintiff alleges that “Defendant Wong was voted out as

the president of Legacy PAC at an Emergency Board Meeting….”
Plaintiff does not allege that Ms. Wong’s membership in the organization
was terminated.

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     “In Georgia, a viable cause of action for defamation, including libel,

‘consists of (1) a false and defamatory statement concerning the plaintiff;

(2) an unprivileged communication to a third party; (3) fault by the

defendant amounting at least to negligence; and (4) special harm or the

actionability of the statement irrespective of special harm.’ ” Kimball v.

Better Bus. Bureau of W. Fla., 613 F. App'x 821, 824 (11th Cir. 2015)

(citing Saye v. Deloitte & Touche, LLP, 295 Ga. App. 128 (2008).

     The Complaint is filled with allegations that Ms. Wong defamed

Messrs. Craig and Fitzgerald and one allegation that Ms. Wong defamed

a Veterans for Trump organization.        None of those allegations are

actionable because the alleged statements concern those individuals and

that organization, not Plaintiff. In other words, Plaintiff fails to allege

any facts that meet the requirement of the first element of a defamation

claim. The failure to allege facts supporting this essential element is

fatal. See Drummond Coal Sales Inc. v. Kinder Morgan Operating LP

"C", 836 F. App'x 857, 864 (11th Cir. 2021) (affirming dismissal where

counts in complaint failed to allege essential elements); In re Villa, 261

F.3d 1148, 1150 (11th Cir. 2001) (affirming dismissal of fraud count for



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plaintiff’s failure to allege misrepresentations to plaintiff); Sabree v.

Ameriquest      Mortg.   Co.,   No.   1:08-CV-3782-ODE-CCH,      2009    WL

10712132, at *2 (N.D. Ga. May 19, 2009), report and recommendation

adopted, No. 1:08-CV-3782-ODE, 2009 WL 10712189 (N.D. Ga. Aug. 11,

2009) (“Dismissal is proper if the complaint lacks an allegation regarding

an element required to obtain relief.”).

           2.     Allegations that Ms. Wong Defamed
                  Plaintiff in Her Complaint to the
                  Federal Election Commission Are Not
                  Specific Enough to Be Actionable.

     Plaintiff claims in Paragraph No. 5 of her Complaint that Ms. Wong

made false and defamatory statements about Plaintiff in her complaint

to the Federal Election Commission. Yet Plaintiff fails to identify any of

the statements in that complaint that are allegedly defamatory. Indeed,

Ms. Wong does not state anything in her FEC Complaint that defames

Plaintiff. Thus, again, Plaintiff fails to meet the first element of a cause

of action for defamation – that a false and defamatory statement must

concern the plaintiff.

           3.     Allegations that Ms. Wong Defamed
                  Plaintiff in Her Complaint to the
                  Federal Election Commission Are Not


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                 Actionable    Because           They       Are
                 Absolutely Privileged.

     In Georgia, allegedly defamatory statements made in court filings

are absolutely privileged. The authority for this is O.C.G.A. § 51-5-8,

which provides as follows:

     All charges, allegations, and averments contained in regular
     pleadings filed in a court of competent jurisdiction, which are
     pertinent and material to the relief sought, whether legally
     sufficient to obtain it or not, are privileged. However false and
     malicious such charges, allegations, and averments may be,
     they shall not be deemed libelous.

The absolute privilege afforded by this code section extends beyond

filings in lawsuits. The absolute privilege has been held to apply to quasi-

judicial proceedings such as a request for investigation submitted to the

Georgia Real Estate Commission pursuant to O.C.G.A. § 43-40-27.

Skoglund v. Durham, 233 Ga. App. 158, 160 (1998). The reason for

extending the privilege to quasi-judicial proceedings is because, the

“[a]bsolute privilege is based upon a public policy determination that the

importance of one's ability to be free from restraint when engaged in legal

processes outweighs a defamed party’s right to seek legal redress.” Saye

v. Deloitte & Touche, 295 Ga. App. 128, 131 (2008).


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     “In determining whether absolute immunity applies, courts look to

the “nature of the proceeding and the character of the rights which may

be affected by it.     Pertinent factors to consider may include the

availability of discovery and of an evidentiary hearing, whether the

merits of the complaint will be reached during the proceeding, and the

scope of judicial review. Mack v. Delta Air Lines, Inc., 639 F. App'x 582,

586 (11th Cir. 2016) (citations and quotations omitted) (because EEOC

proceeding is quasi-judicial in nature, it is entitled to absolute immunity

under Georgia law); RCO Legal, P.S., Inc. v. Johnson, 347 Ga. App. 661,

669–70 (2018) (absolute privilege applied to allegations of theft); In re

Bryan, 308 B.R. 583, 588 (Bankr. N.D. Ga. 2004) (absolute privilege

applied to complaint filed with the Georgia State Bar).

     The FEC is empowered to investigate complaints. See 52 U.S.C. §

30109. Thus, its proceedings are quasi-judicial in nature. As a result,

anything Ms. Wong said to the FEC in her complaint is absolutely

privileged under Georgia law.

     D.    A Portion of Count 5 of the Complaint
           (“ATTORNEY’S      FEES    AND    LITIGATION
           EXPENSES”) Fails to State a Claim Upon Which
           Relief May Be Granted.


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     Count 5 of the Complaint seeks attorneys’ fees and litigation

expenses pursuant to O.C.G.A. § 13-6-11 and O.C.G.A. § 9-15-14. Ms.

Wong seeks a dismissal of the claim for fees under O.C.G.A. § 9-15-14

because “a claim brought pursuant to O.C.G.A. § 9-15-14 can only be

asserted in Georgia state or superior courts.” Munson v. Strategis Asset

Valuation and Mgmt., Inc., 363 F. Supp. 2d 1377, 1380 n.1 (N.D. Ga.

2005) (citing Edwards v. Associated Bureaus, Inc., 128 F.R.D. 682, 683

(N.D. Ga. 1989)). This is because actions brought under O.C.G.A. § 9–

15–14 may only be brought “in any court of record of this state.” O.C.G.A.

§ 9–15–14(a). “This language ‘makes it clear that the statute was not

intended to provide for claims in federal court.’” Thomas v. Brown, 708

F.Supp. 336, 339 (N.D.Ga.1989) (Shoob, J.) (citing Union Carbide

Corporation    v.   Tarancon    Corporation,    682   F.Supp.    535,    544

(N.D.Ga.1988) (Hall, J.); Gerald Metals, Ltd. v. Horowitz, No. C88–1107

(N.D. Ga. June 8, 1989) (Evans, J.).




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                            CONCLUSION

     For each of the foregoing reasons, Ms. Wong requests that her

motion to dismiss Counts 2 and 4 and a portion of Count 5 be granted.

Dated: November 3, 2023              ICHTER DAVIS LLC


                               By: /s/ James W. Hawkins

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                          CERTIFICATION

     In accordance with LR 5.1C, ND GA, I hereby certify that this

document has been prepared in 14 point, Century Schoolbook font.

     Dated: November 3, 2023.

                                        /s/ James W. Hawkins
                                        James W. Hawkins



                    CERTIFICATE OF SERVICE

     I hereby certify that the within and foregoing Brief in Support of

Motion to Dismiss Counts One and Two and a Portion of Count

Five for Failure to State a Claim was served by email to counsel of

record for Plaintiff America First Legacy PAC:

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     Dated: November 3, 2023.


                                        /s/ James W. Hawkins
                                        James W. Hawkins




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